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                                                                              Honorable James L. Robart
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8                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
9                                           AT SEATTLE

10   MAXIMUS BUGUIEV and TATYANA
     FADEEVA, a married couple,                            Case No. 2:20-cv-01007-JLR
11
                              Plaintiffs,
12                                                         STIPULATION AND ORDER OF
              v.
                                                           DISMISSAL UNDER FED. R. CIV. PRO.
13                                                         41(a)(1)(A)(ii)
     FIRST AMERICAN PROPERTY &
14   CASUALTY INSURANCE COMPANY, a                         Noted for Hearing: September 24, 2020
     foreign insurer,
15
                              Defendants.
16                                                    .

17                                            STIPULATION
18
              Under Fed. R. Civ. P. 41(a)(1)(A)(ii), it is STIPULATED AND AGREED between the
19
     undersigned parties, through their respective counsel of record, that as a result of a settlement all
20
     of plaintiffs’ claims against defendant, First American Property & Casualty Insurance Company
21
     in the above-entitled action may be dismissed, with prejudice and without an award of fees or
22
     costs to either party.
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      No. 2:20-cv-01007-JLR                                          COLE | WATHEN | LEID | HALL, P.C.
                                                                      1505 WESTLAKE AVENUE, SUITE 700
      STIPULATION AND ORDER OF DISMISSAL                                SEATTLE, WASHINGTON 98109
      Page 1 of 4                                                     (206) 622-0494/FAX (206) 587-2476
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1             IT IS SO STIPULATED this 24th day of September, 2020.

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     MOORE LAW GROUP PLLC                      COLE | WATHEN | LEID | HALL PC
3

4    s/ Joseph W. Moore (per email approval)   s/Rory W. Leid
     Joseph W. Moore, WSBA No. 44061           Rory W. Leid, WSBA No. 25075
5
     Attorney for Plaintiffs
6    1604 Hewitt Avenue, Suite 515             s/Christopher J. Roslaniec
     Everett, WA 98201                         Attorneys for Defendant
7    T: (425) 998-8999                         1505 Westlake Avenue North, Suite 700
     joseph@moore.law                          Seattle, WA 98109-6243
8                                              T: (206) 622-0494
                                               rleid@cwlhlaw.com croslaniec@cwlhlaw.com
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      STIPULATION AND ORDER OF DISMISSAL                         SEATTLE, WASHINGTON 98109
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1                                                 ORDER

2             Based upon the foregoing Stipulation, the Court FINDS and ORDERS that all claims all

3    of plaintiffs Maximus Buguiev and Tatyana Buguiev against defendant, First American Property
4    & Casualty Insurance Company are dismissed with prejudice and without an award of fees or
5
     costs to either party.
6

7
                    DATED this 25th day of September, 2020.
8

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10                                                        A
                                                          Honorable James L. Robart
11

12
     MOORE LAW GROUP PLLC
13

14   s/ Joseph W. Moore (per email approval)
     Joseph W. Moore, WSBA No. 44061
15   Attorney for Plaintiffs
     1604 Hewitt Avenue, Suite 515
16   Everett, WA 98201
     T: (425) 998-8999
17   joseph@moore.law
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19   COLE | WATHEN | LEID | HALL PC

20
     s/Rory W. Leid
21   Rory W. Leid, WSBA No. 25075

22   s/Christopher J. Roslaniec
     Attorneys for Defendant
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1
                                  CERTIFICATE OF SERVICE
2

3           The undersigned makes the following declaration certified to be true under penalty of
     perjury pursuant to RCW 9A.72.085:
4
             On the date given below, I hereby certify that I caused the foregoing to be filed using the
5    United States District Court for Western District of Washington – Document Filing System
     (CM/ECF) and a true and correct copy to be served on the following parties in the manner
6    indicated:

7      Counsel for Plaintiffs:
       Joseph W. Moore, WSBA #44061                   Via ECF
8      Moore Law Group, PLLC
       1604 Hewitt Avenue, Suite 515
9      Everett, WA 98201
       425/998-8999
10
       joseph@moore.law
11

12
               I certify under penalty of perjury under the laws of the State of Washington that the
13
     foregoing is true and correct.
14

15
              Dated this 24th day of September, 2020, at Seattle, Washington.
16

17                                                 s/ Jan Sherred
                                                   Jan Sherred, Legal Assistant
18                                                 jsherred@cwlhlaw.com
19

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25


      No. 2:20-cv-01007-JLR                                         COLE | WATHEN | LEID | HALL, P.C.
                                                                     1505 WESTLAKE AVENUE, SUITE 700
      STIPULATION AND ORDER OF DISMISSAL                               SEATTLE, WASHINGTON 98109
      Page 4 of 4                                                    (206) 622-0494/FAX (206) 587-2476
